               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MAXWELL KADEL, et al.,

                          Plaintiffs,

                     v.                      Case No. 1:19-cv-00272-LCB-LPA

DALE FOLWELL, in his official capacity as
State Treasurer of North Carolina, et al.,

                          Defendants.


       PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
MOTION IN LIMINE #2, TO EXCLUDE EVIDENCE OF PLAINTIFFS’ OTHER
                      CLAIMS AND LAWSUITS




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                                    INTRODUCTION

       This Court should enter an order precluding Defendants from presenting at trial

evidence, testimony, argument and spoken comments relating to any other claims or

lawsuits filed by or involving any of the Plaintiffs. Any claims not specifically referenced

in the operative complaint or other lawsuits involving the Plaintiffs are not relevant to the

claims or defenses at issue in this lawsuit, would prejudice the Plaintiffs, and unnecessarily

confuse and mislead the jury.

                                       ARGUMENT

       This case is only about the discrimination and injuries suffered by the Plaintiffs due

to the categorical exclusion of gender-confirming health care contained in the North

Carolina State Health Plan for Teachers and State Employees.            See generally First

Amended Complaint (ECF 75). Evidence about any other claims or lawsuits involving

Plaintiffs has no relevance to the claims or defenses at issue in this action and would only

confuse, mislead, and prejudice the jury against Plaintiffs.

       Plaintiffs anticipate that Defendants, their witnesses, or their counsel may comment

on or offer evidence concerning other claims or lawsuits involving the Plaintiffs. For

example, Ms. McKeown was questioned in detail at her deposition about an unrelated

action. At least two other Plaintiffs have been involved with other lawsuits that Defendants

may attempt to address in the presence of the jury.

       But evidence of such other claims and cases is wholly irrelevant to the claims here,

and moreover would be highly prejudicial. The evidence is therefore inadmissible. Federal

courts routinely grant motions in limine to exclude evidence of other lawsuits. Norton v.


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Rosier, No. 7:14-cv-00260, 2019 WL 346709 at *4 (E.D.N.C. Jan. 28, 2019) (granting

motion in limine to exclude evidence of plaintiff’s other lawsuits, finding that there was a

danger of jury bias and prejudice based on litigiousness) (citing Outley v. City of New York,

837 F.2d 587, 592 (2d Cir. 1988)); Gillis v. Murphy-Brown, LLC, No. 7:14-cv-185, 2018

WL 5831994 at *2 (E.D.N.C. Nov. 7, 2018); Smith v. E-backgroundchecks.com, Inc., No.

1:13-cv-02658, 2015 WL 11233453 at *1 (N.D. Ga. Jun. 4, 2015) (granting motion in

limine to exclude evidence, testimony, or reference to other lawsuits because evidence of

other cases would likely confuse and mislead the jury).

       Further, “evidence of other lawsuits is generally considered inadmissible hearsay.”

In re Ethicon, Inc. Pelvic Repair Sys. Prods. Liab. Litig., MDL No. 2327, 2014 WL 505234

at *6 (S.D. W.Va. Feb. 5, 2014) (citing Johnson v. Ford Motor Co., 988 F.2d 573, 579 (5th

Cir. 1989)).

       Relevant in this case are facts and testimony concerning the injuries alleged in the

First Amended Complaint or the operative complaint at the time of trial and Defendants’

affirmative defenses. Any evidence concerning Plaintiffs’ other claims or lawsuits is of no

relevance or value whatsoever to the claims and defenses at issue here. The prejudice and

confusion that evidence of other claims or lawsuits involving the Plaintiffs would create

substantially outweighs any probative value, of which there is none. Evidence of other

claims or lawsuits might lead a juror to improperly make conclusions about Plaintiffs’

character or lead to bias. Additionally, Plaintiffs would be forced to defend themselves

against or explain claims not before this Court.        Plaintiffs may also be subject to

confidentiality obligations with respect to other claims and lawsuits, leaving them unable


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to discuss such claims in the presence of the jury. This would result in unnecessary jury

confusion, as well as a waste of time and judicial resources.

                                     CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ Motion in Limine #2

and exclude any evidence of Plaintiffs’ other claims or lawsuits not specifically referenced

in the operative complaint.




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Dated: June 10, 2022                           Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3(d)(1)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.


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                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all

registered users.


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